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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

          v.                                         Magistrate No. 24-2028
                                                     [UNDER SEAL]
JACK DANAHER MOLLOY


                AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

               I, Gregory Battaglia, a Special Agent with the Federal Bureau of Investigation

(“FBI”), being duly sworn, hereby depose and state the following:

I.     INTRODUCTION AND AGENT BACKGROUND

               1.      This affidavit is made in support of a criminal complaint charging JACK

DANAHER MOLLOY (“MOLLOY”) with two counts of making a false statement or

representation involving international terrorism to a Department or Agency of the United States,

in violation of 18 U.S.C. § 1001(a)(2).

               2.      I am a Special Agent with the Federal Bureau of Investigation and have

been so employed since April 2022. I was previously employed by the FBI since 2012 as a Staff

Operations Specialist. As a Special Agent with the FBI, I am an “investigator or law enforcement

officer” of the United States within the meaning of Title 18, United States Code, Section 2510(7),

that is, an officer of the United States who is empowered by law to conduct investigations, execute

warrants issued under the authority of the United States, and to make arrests for offenses

enumerated in Title 18, United States Code, Section 2516.

               3.      I am currently assigned to the Joint Terrorism Task Force (“JTTF”) in the

FBI’s Pittsburgh Division. In this capacity, I am charged with investigating possible violations of

federal criminal law. By virtue of my FBI employment, I perform and have performed a variety of

investigative tasks, including functioning as a case agent on international terrorism investigations.
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I have received training and have gained experience in the conduct of counterterrorism

investigations, the execution of federal search warrant and seizures, interviewing and interrogation

techniques, and the identification and collection of evidence, including computer-related evidence.

               4.      The facts and statements set forth in this affidavit are based on my personal

knowledge and experience, as well as information gathered during my investigation of this case,

to include information from other law enforcement personnel and legal counsel, review of

documents and electronic records, and discussions with others who have personal knowledge of

the events and circumstances described herein. Because this affidavit is submitted for the limited

purpose of establishing probable cause in support of the instant criminal complaint, this affidavit

does not set forth each and every fact that I have learned during the course of this investigation.

II.    STATUTORY VIOLATIONS

               5.      Title 18, United States Code, Section 1001(a)(2) criminalizes making a

materially false, fictitious, and fraudulent statement and representation in a matter within the

jurisdiction of the executive, legislative, or judicial branch of the Government of the United States.

               6.      The elements of a Section 1001(a)(2) offense are that the defendant made a

statement or representation; the statement or representation was false, fictitious or fraudulent; the

statement or representation was material; the false, fictitious or fraudulent statement was made

knowingly and willfully; and the statement or representation was made in a matter within the

jurisdiction of the executive, legislative, or judicial branch of the Government of the United States.

               7.      Section 1001 provides for enhanced penalties if the offense involves

international or domestic terrorism, as this Complaint Affidavit alleges.

               8.      The FBI is an agency of the United States Department of Justice. The

Department of Justice is part of the executive branch of the United States Government.



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III.   PROBABLE CAUSE

       A.      Overview

               9.      MOLLOY, a dual citizen of the United States and Ireland, traveled to

Lebanon in August 2024 and attempted to join Hizballah, a Foreign Terrorist Organization

(“FTO”). While in Lebanon, MOLLOY was told by multiple individuals that the time was not

right, and that he needed to take other steps before he could join the FTO. MOLLOY then traveled

from Lebanon to Syria in October 2024 in the hopes of joining the Syrian branch of Hizballah.

               10.     MOLLOY also supported and idolized violence and wanted to kill Jews, as

evidenced by multiple images and videos on his electronic devices and the names he chose as his

monikers for his social media and email accounts, which included variations of the phrase “Kike

Killer” and “Gas the Jews.”

               11.     MOLLOY later returned to the United States and began residing in the

Western District of Pennsylvania, where MOLLOY continued his efforts to join Hizballah. Upon

entering the Western District of Pennsylvania on October 20, 2024, MOLLOY lied to agents of

the FBI when he told them that (1) he had no current or future plans to become involved with

Hizballah and (2) that he had no business in nor was he meeting with anyone when he had just

recently travelled in Syria.

               12.     These statements and representations were false because, as MOLLOY then

and there knew, (1) MOLLOY had current and future plans to become involved with Hizballah

and (2) MOLLOY travelled to Syria with the business of continuing his attempts to join Hizballah,

and while in Syria, set up a meeting with an individual there.

       B.      Background On Hizballah

               13.     Hizballah, also commonly spelled “Hezbollah,” meaning “Party of God,” is

an Iran-backed Lebanese Shiite militia and a United States (U.S.)-designated FTO. Formed in the

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wake of the 1982 Israeli invasion of Lebanon, the group has conducted numerous terrorist attacks

against Israeli and Western targets, to include against American military and diplomatic personnel.

               14.     Based on your Affiant’s training and experience, your Affiant knows that

Shiites and Sunnis are the two main branches of Islam, and that their differences stem from their

views on who should lead the Muslim community after the death of the Prophet Muhammad.

Shiites believe that the leader of Islam should be a blood relative of Muhammad, while Sunnis

believe that the leader can be any member of the community. The ideology of Hizballah has been

summarized as Shiite radicalism.

               15.     On or about October 8, 1997, the U.S. Secretary of State designated

Hizballah as an FTO under Section 219 of the Immigration and Nationality Act. To date, Hizballah

remains a designated FTO.

               16.     While Hizballah originated in, and maintains its stronghold from, Lebanon,

the FTO has branches that operate from other countries in the region. Syrian Hizballah, for

example, is a branch of the broader FTO that operates out of the Syrian Arab Republic. Syrian

Hizballah is directly trained by Lebanese Hizballah and is also supported by Iran’s Islamic

Revolutionary Guard Corps (“IRGC”) and the Syrian Armed Forces. The IRGC was designated

as an FTO by the U.S. Department of State on April 15, 2019.

       C.      Background On MOLLOY

               17.     MOLLOY was born in 2000. He is both a citizen of the United States and

a citizen of the Republic of Ireland. MOLLOY maintains both United States and Irish passports.

               18.     Your Affiant is aware, based on your Affiant’s interview of MOLLOY, FBI

surveillance, review of Internet Protocol addresses, and other evidence, that, beginning on or about

October 20, 2024, MOLLOY resided in Upper St. Clair, a suburb of Pittsburgh, Pennsylvania, and

recently traveled to Chicago.

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               19.     MOLLOY was formerly enlisted as an active-duty soldier in the U.S. Army

from on or about March 19, 2019, to on or about April 24, 2019.

               20.     One month before entering active duty with the U.S. Army, on or about

February 10, 2019, MOLLOY changed the registered email address on his PayPal account to

glassofjuice88@             .com. Your Affiant is aware, based on training and experience, that

“Glassofjuice” is a homophone for “Gas the Jews,” and the number “88” is a reference to a white

supremacist numerical code for “Heil Hitler.” H is the eighth letter of the alphabet, so 88 = HH =

Heil Hitler.

               21.     On or about September 1, 2021, MOLLOY signed a contract with the U.S.

Army Reserve as a Cadet with the U.S. Army Reserve Officers’ Training Corp (“ROTC”) at the

University of Illinois at Chicago. MOLLOY is no longer of the member of ROTC.

       D.      MOLLOY Traveled To Lebanon And Syria And Attempted To Join
               Hizballah.

               22.     Your Affiant has reviewed MOLLOY’s passport stamps, email records,

Airbnb account records, records from social media accounts and Google, and has interviewed

MOLLOY. Your Affiant has also reviewed information downloaded from MOLLOY’s cellular

phone and laptop in border searches conducted by United States Customs and Border Protection.

Based on those and other investigative steps, your Affiant has learned the following:

               23.      In and around February 2024, MOLLOY converted to Islam. MOLLOY

follows the Shiite sect of Islam.

               24.     On or about August 9, 2024, MOLLOY travelled from Chicago O’Hare

International Airport to Istanbul, Turkey.

               25.     On or about August 10, 2024, MOLLOY arrived in Lebanon.




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               26.      From in and around August 10, 2024, through in and around October 14,

2024, MOLLOY rented residences in Beirut, Lebanon and Forn El Chebbek, Lebanon (an area

close to Hizballah’s headquarters).

               27.      During this timeframe, MOLLOY took multiple steps and communicated

with multiple individuals to achieve his goal of fighting for Hizballah.

               28.      On or about August 31, 2024, MOLLOY conducted a Google search for

“Hezbollah training.”

               29.      On or about September 13, 2024, an unknown female (“UF1”) sent

MOLLOY a voice note through WhatsApp. UF1 spoke in English but with a foreign accent. UF1

advised MOLLOY to go to a masjid, or mosque, that was attended by Hizballah members to reach

his goal. She stated:

       So actually you know it’s really good for you to go. You’re going to meet new
       people there, a lot of Shia people, a lot of Hizballah members. It’s really good for
       you to go, it’s beneficial and you’re going to meet a lot of new people, you’re going
       to feel like you know those people unlike meeting Christians who you know how
       they think and you’re gonna not enjoy it as much but once you meet people who
       have the same mentality as you, the same goals, it will bring you closer to Shia
       Islam.

               30.      On or about September 16, 2024, MOLLOY conducted a Google search for

“Hezbollah reserves.”

               31.      On or about September 17 and September 18, 2024, there was an attack

against Hizballah in which explosives were covertly inserted into the batteries of pagers procured

by the FTO and then, subsequently, detonated.

               32.      On or about September 18, 2024, UF1 sent MOLLOY another voice note

and advised MOLLOY that:

       You should learn Arabic you know. It’s going to be a huge factor. I don’t know
       where I saw this, but I think that in Hizballah, you should at least have resided in
       Lebanon for like two years before they will accept you to join them. I’m not sure,

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       okay. I’m not sure but you can ask around you know if you have met the people
       from Hizballah or Shiites who know about this.

               33.     The voice note continued with UF1 stating, “it’s better if you ask them, and

meanwhile, you should learn Arabic” because “it’s good for your culture, you know, to learn more

languages” and Arabic is an “important language” and the “language of Shiite Islam.” UF1 also

advised, “It’s going to help you in Lebanon, and even if you want to join any resistance, especially

Hizballah, it’s very important for you to learn Arabic.”

               34.     On or about September 18, 2024, a social media provider removed a story

that MOLLOY shared. A screenshot saved on MOLLOY’s cellular device shows the message

MOLLOY received from the social media provider regarding the removal which stated, “It looks

like you shared or sent symbols, praise or support of people and organizations that we define as

dangerous or follow them. This goes against our Community Guidelines on dangerous individuals

and organizations.” The image MOLLOY shared to his story that was subsequently removed is

shown below:




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               35.     Based on your Affiant’s training and experience, the picture that was

removed from MOLLOY’s story is of Hassan Nasrallah, a Lebanese cleric and politician who

served as the secretary-general of Hizballah from 1992 until his death on September 27, 2024. The

other man in the image is Iran’s current Supreme Leader, Ayatollah Ali Khamenei.

               36.     On or about September 19, 2024, MOLLOY received multiple WhatsApp

voice notes from an unidentified male (“UM1”). UM1 spoke in English but with a foreign accent.

In the voice notes, UM1 wished MOLLOY (whose nickname is “Yahya”) well, then warned

MOLLOY that, based on his Irish appearance, “My friend, look, I will tell you something. At the

time, it’s not a good idea, OK? [...] But man, your look at this time, at this point, it’s very, very

sensitive, so. It’s better not to go, eh, now. Soon, OK? But not now. Because now, situation is

not good.”

               37.     UM1 then relented that, “Look, Yahya, my friend, you can go, we can go

there. But we’re gonna have a lot of questions, you know, sometimes it’s the people. And you,

we can talk with some, OK? But we can’t talk with every people, you know, these people. When

we are together, are gonna explain it to you.” UM1 ultimately confirmed that they could go on

Sunday, which was in a few days (September 19, 2024 was a Thursday). UM1 also stated that

MOLLOY must be with “a local” who could help explain.

               38.     On or about September 20, 2024, MOLLOY sent a message to an individual

with a Snapchat username of “                    ” stating that MOLLOY had attended a Hizballah

funeral and that “the gate guards even though they were different ones from last week, knew of

me, they knew that I’m Irish, that I’m Shia, and somehow they knew that I want in with Hezbollah.

They were entertaining the idea of me being Hezb. I fully expect to be taken off the streets at any

moment for questioning and vetting.”



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               39.     On or about September 21, 2024, MOLLOY received another WhatsApp

voice note from UF1. UF1 confirmed that “Yeah Hizballah usually like they know everything

about anyone, you know they can immediately know things about you. [...] You know they can’t

let anyone in. This is why they try to see your background and see who you are and where you

come from.”

               40.     On or about September 23, 2024, MOLLOY used the Google Translate

service to translate the following statement: “I would be okay with coming back and forth, because

I came here to Lebanon for a reason. I want to be with brothers during this difficult time. I

understand it may look suspicious, but I will answer any questions you have.”

               41.     On or about September 25, 2024, MOLLOY used the Google Translate

service to translate the following statements:

                       a.     “and that’s why I’m getting my degree and a remote job . . . fight for

                              a few years and then work and Make lots of money;”

                       b.     “I live in lebanon now and I only want to live somewhere shia for

                              the rest of my life, so I have time. and that is true but I grew up in a

                              military family, so my mind is always obsessed with military;”

                       c.     “to me, I am continuing the fight my great grandmother fought

                              against the Zionists, but now Islamically;”

                       d.     “this is true, although I have a very fierce hatred of these Zionists

                              and I need to fight. . . . I have thought about this every moment of

                              every day since I was 18, for 7 years now;”

                       e.     “There are 40000 foreign Shia fighters who have arrived in Syria

                              and have pledged themselves to Sayed Nasrallah;”



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                         f.     “I am sure it will be difficult for me, since I do not know Arabic, but

                                I am ready;”

                         g.     “There are Farsi speaking IRGC leaders who have trained alongside

                                Hezbollah so perhaps they have experience dealing with other

                                languages.”

                 42.     On or about September 27, 2024, Hizballah’s leader, Sayed Hassan

Nasrallah, was killed by an Israeli air-strike on Hizballah’s headquarters.

                 43.     On or about September 27, 2024, MOLLOY created a reservation for a 94-

night stay at an Airbnb residence located in Forn El Chebbak, Lebanon. Forn El Chebbek is an

area close to Hizballah’s headquarters.

                 44.     On or about September 27, 2024, MOLLOY received a WhatsApp voice

note from another unidentified male (“UM2”). UM2 spoke in English but with a foreign accent.

UM2 warned MOLLOY, “I think you should for sure try to find, for tonight, somewhere a bit

further away to sleep.”

                 45.     On or about September 30, 2024, MOLLOY received several WhatsApp

voice notes from a second unidentified female (“UF2”). UF2 spoke in English but with a foreign

accent.

                 46.     UF2 warned MOLLOY:

          You have to be very careful Yahya, because this might escalate to the point of you
          being suspected as a Mossad, because usually when it comes to Hezib that’s not
          actually how it happens. You have to know people in Hezib, they have to make an
          extremely big background check on you […].

                 47.     UF2 further explained:

          Your every movement will be monitored, your every action will be monitored for
          a while to make sure that you are truly decent, or, willing to do what you want to
          do. And in that case, after get accepted into the force, you will undergo training.
          I’m telling you about this because that’s how I know things are in Hezib. They do

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       a background check, they monitor you and your movements and your work and
       your life and everything you know. Then after that they keep on monitoring you
       even when you are inside, there are a lot of rules and regulations within the force.
       It’s not something easy.

               48.    UF2 then stated that, “I will be sending you this voice note. It’s gonna be a

long voice note. I’m really sorry for the spamming but I did ask regarding if you want to be

recruited into Hizballah ok.”

               49.    UF2 stated:

       So I’ve asked two to three official sources official sources. The first one mentions
       that it’s very hard to go into Hizballah, to the Mukawama [“Resistance”] in general.
       […] People start from a very young age and then they train and then they go places
       and then they take them to other places to train and have a like a bootcamp. And
       then when they are older, they ask them if they want to be official members in in
       the force. According to that, they move forward with their own requests. Other than
       that, I ask another source. We have something called Saraya [“Brigade”], and I
       really need to research the name in English, but basically, every foreign member
       goes there to apply. Either Palestinian, Syrian, or any other type of member. They
       go there and they apply. But in other cases, another source, of the other two sources
       mentioned, that it’s very accepted [] for a foreign person, even at an older age, even
       if it was hard to apply, but you need someone from the inside to actually, there’s a
       word for it, they need to be, they have to know you, they have to be like someone
       like linked there […] basically someone who will be talking about you, and then
       according to their, according to what they say, you will be coming forward.

               50.    UF2 informed MOLLOY:

       Currently at the moment it’s actually hard because, due to the circumstances it’s
       very hard for someone to apply because there are no bootcamps or recruiting
       aspects of it because there’s a lot of things that are shifting and happening. So,
       there will be a time where you cannot apply for a while, which is sad. So you’re
       going to have to wait because I think it’s going to take more than a couple of
       months, and things are not very safe. There are a lot of divisions you can apply for,
       but right now they are not recruiting, they’re not accepting anyone and due to the
       high number of Mossad agents, and moles, appearing inside sadly, so it’s gonna
       take a while. For sure you can but its gonna take a while especially after the
       circumstances are over. […] After that, when things are in order again, then they
       will reopen for recruits. So it’s gonna take more than three four months.

               51.    UF2 stated that:

       The fact that you’re saying that I am Godsend right now I am really afraid that you
       might curse me when you, feel like the path was never, should have never been

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       yours to take, but I understand what you may regard to jihad and I think everyone
       should take a stand and do something about the situation if they can.

               52.     UF2 also advised that MOLLOY would need several things, to include his:

       ID, your passport, you’re gonna have to […] [get] a paper […] from the Mayor of
       the area that you live in, that you live in this area, if it’s not feasible the person that
       I connected with mentioned that he will help out in this. You’re gonna take, you’re
       gonna need two official images taken for you professionally, the one like passport
       pictures, there they need to be signed by the Mayor of your area, we call it to be,
       proofed by the his stamp and everything. These are the main aspect of the papers.
       If they want anything more they will ask for them, like you know your criminal
       records, if you have any you can acquire it from Ireland, and of course a pic […]
       [and] your degrees.

               53.     UF2 affirmed again that she understood “the call for Jihad” and hoped that

MOLLOY would “achieve what you are wishing for.” She then stated, however, that:

       Sometimes Jihad does not require you fighting in a battlefield if things didn’t work
       out. I am pretty sure you are not the type of guy to lose hope. There are many
       things you can do that can actually aid. Sometimes a voice is far more powerful
       than a weapon and sometimes a pen is far more powerful than a knife, so you can
       influence the un-influenced.

               54.     On or about September 28, 2024, MOLLOY took photographs of himself

(located on his cellular device) that are consistent with UF2’s description of the photographs that

MOLLOY would need for the Hizballah application, as pictured below:




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               55.    On or about September 30, 2024, MOLLOY received another WhatsApp

voice note from a third unidentified female (“UF3”). UF3 spoke in English but with a foreign

accent. In the note, UF3 told MOLLOY that he did not need to put aside his studies to join the

“force.”

               56.    On or about October 1, 2024, UF2 sent MOLLOY voice notes that provided

MOLLOY with real time updates regarding Hizballah’s attacks on Israeli military forces in

Lebanon before articulating that MOLLOY was closer to the attacks than UF2.

               57.    On or about October 3, 2024, UF2 began advising MOLLOY regarding

joining the Hizballah force in Syria. UF2 stated:

       There are two aspects […] if you want to be in the force, the Mukawama
       [“Resistance”] and go to Syria, you have to actually be part of the Mukawama
       [“Resistance”], like the normal part and then they send you to Syria, but if you want
       to be part of the Syrian force, I don’t know which one is that it’s like a normal type
       of ah Syrian resistance, it’s usually not very ethical due to the things that happened
       in Syria [...] I have been advised for that it should it’s not very advisable, by
       someone as, in the Mukawama [“Resistance”], so it depends on what you want.

               58.    On or about October 3, 2024, UF2 stated in another voice note:

      Usually the ones that are part of the Mukawama [“Resistance”] that reside in, Syria
      are actual forces in the Mukawama [“Resistance”], and Hizballah then be deported
      there or, there is a different situation going on, because things are different, you have
      the Palestinian resistance, which includes all Palestinian people and Palestinian
      heritage in Syria or in Lebanon, and you have the Mukawama [“Resistance”] usually
      the Shia, but other than that I do not know about this allegation that Syrian Shias are
      actually doing something.

               59.    On or about October 4, 2024, MOLLOY messaged an associate (“Individual

1”) via WhatsApp:

                      a.      “I’ve been told very politely that Hezb isn’t recruiting anymore;”

                      b.      “They can’t even trust Lebanese at this point;”

                      c.      “Too many security breaches;”



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                          d.      “So there’s simply no way they can hire foreigners even if I am

                                  trustworthy.”

                          e.      “I am going to head to Iran either tomorrow or Sunday and start

                                  studying at an English teaching madrasa 1”

                          f.      “Called Al Mustafa, in Qom [Iran]”

                  60.     On or about December 8, 2020, the Office of Foreign Assets Control

(“OFAC”) sanctioned Al-Mustafa because “Al-Mustafa International University is based in Iran

and maintains dozens of international branches that facilitate IRGC-QF operations through the

recruitment of international students, including Americans. The international community should

be wary of Iranian influence, espionage, and terror operations facilitated by the regime’s

educational infrastructure.” 2 Your Affiant is aware that IRGC-QF (Qods Force) is the IRGC

special operations unit that conducts covert operations outside of Iran.

                  61.     On or about October 6, 2024, MOLLOY received a WhatsApp voice note

from another unidentified male (“UM3”). UM3 spoke in English but with a foreign accent. In the

voice note, UM3 advised MOLLOY that, as an American citizen, MOLLOY would need a Visa

to enter Syria. UM3 implored MOLLOY to pay attention to the details required to do so.

                  62.     On or about October 7, 2024, the one-year anniversary of the October 7,

2023 attack on Israel, 3 MOLLOY created the                account “kikekiller696969@            .com” and

conducted a Google search for “is Hezbollah recruiting.”



1
    A Madrasa is a school for Islamic instruction.
2
   https://2017-2021.state.gov/the-united-states-sanctions-irgc-facilitators-in-iran-and-an-irgc-official-in-
yemen/.
3
 On October 8, 1997, the United States Secretary of State designated HAMAS as an FTO under Section
219 of the Immigration and Nationality Act. On October 31, 2001, the Secretary of State also designated
HAMAS as a Specially Designated Global Terrorist under Executive Order 13224. To date, HAMAS

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                63.     On or about October 8, 2024, MOLLOY tweeted on X, “We Irish love

Hezbollah, and personally, they were a major influence in me reverting to Islam and moving to

Lebanon.”

                64.     On or about October 9, 2024, MOLLOY departed Lebanon and entered the

Syrian Arab Republic.

                65.     On or about October 10, 2024, in response to a tweet from an X user who

posted a video from a soccer game in which fans were chanting, as translated into English, “Shove

that Palestinian flag up your ass,” MOLLOY tweeted, “I am not in Hezb or anything like that . . .

but that day will come InshaAllah, and so will the purge of you traitors.” MOLLOY also stated

that he hoped that Allah would grant him “martyrdom” because “that is the warrior’s path.”

                66.     On or about October 11, 2024, MOLLOY received another WhatsApp voice

note from UM3. UM3 requested, “please can you send me, ah can you write me your name and

family name because the application I have to put your, they ask about the full name.”

                67.     Also on or about October 11, 2024, MOLLOY exchanged the following

messages with an individual on SMS saved as “Soumar Syria”:

                        a.      MOLLOY: “I am at the park that I sent you the location”; “Call me

                                over the normal number when you are ready to meet.”

                        b.      SOUMAR: “Hi, Ok Sir, Sorry about late bc I have a meeting.”

                        c.      MOLLOY: “What time will you be busy until.”

                        d.      SOUMAR: “20 min Max.”




remains a designated FTO. On or about Saturday, October 7, 2023, at approximately 6:30 a.m. local time
in Israel, HAMAS members or persons fighting for HAMAS (collectively, “HAMAS attackers”) breached
the border between the Gaza Strip and Israel, infiltrating Israel, and launched a wave of attacks focused
primarily on civilians. Hundreds of civilians, including Americans, were killed. Others, including
Americans, were kidnapped, taken hostage, and brought into the Gaza Strip by the HAMAS attackers.
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                        e.    MOLLOY: “Ok I’ll wait.”

               68.      MOLLOY also admitted to his mother on WhatsApp that he wanted to join

Hizballah and kill Jews, and that he was considering fighting for Russia against Ukraine in order

to ultimately reach his goal of joining Hizballah:

                        a.    Mother: “But your master plan was to join Hezbollah and kill

                              Jews?”

                        b.    MOLLOY: “Yes”

                        c.    Mother: “How is joining Russia part of master plan?”

                        d.    MOLLOY: “it’s a job”; “A one year job”

                        e.    Mother: “And you have no $ to get there…”; “Not sure they want

                              an American”; “They’d likely throw you in jail”

                        f.    MOLLOY: “You don’t think I have an Irish passport?”; “Come on

                              now”

                        g.    Mother: “Again this is your unstable thinking”

                        h.    MOLLOY: “I’ve already spoken to recruitment”

               69.      In addition, MOLLOY admitted to an associate saved in MOLLOY’s

contacts as “Somaiya” on               that “for now since Hezb isn’t recruiting I will be fighting in

other ways . . . . ” Somaiya responded: “The only way to fight is physically at this point. They

need to be liquidated asap. But I can imagine you joining.” MOLLOY then responded, “It’ll

happen within the next year. It just takes time to build trust. And Islamic credentials help

massively with that.”

               70.      On or about October 14, 2024, MOLLOY departed the Syrian Arab

Republic and entered the Republic of Iraq.



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                71.   On or about October 19, 2024, MOLLOY began his trip back to the United

States. MOLLOY flew from Baghdad, Iraq to Doha, Qatar. Then, on or about October 20, 2024,

MOLLOY flew from Doha, Qatar, to Washington Dulles International Airport on Qatar Airlines

Flight 709. Finally, on the evening of October 20, 2024, MOLLOY took his final flight from

Washington D.C.’s Ronald Reagan Washington National Airport to Pittsburgh International

Airport on American Airlines Flight 1985. At 11:45 p.m., MOLLOY landed in Pittsburgh,

Pennsylvania.

                72.   From on or about October 20, 2024, through on or about November 29,

2024, while residing in Upper St. Clair, a suburb of Pittsburgh, Pennsylvania and traveling

elsewhere, MOLLOY continued to search the Internet for information on Hizballah, research

details of travel overseas, and communicate with individuals in Lebanon and elsewhere abroad.

                73.   For example, on or about October 24, 2024, MOLLOY conducted a Google

search for “flight from new york to baku.”

                74.   On or about October 29, 2024, and November 14, 2024, MOLLOY

conducted Google searches for “Hezbollah.”

                75.   On or about November 2 and 3, 2024, MOLLOY had the following direct

messaging conversation with an X user, believed to be the “Somaiya” that MOLLOY

communicated with                   :

                 a.     X USER: “How you been?”

                 b.     MOLLOY: “Good overall Alhamdulillah;” “No issues with the FBI yet,

                        even though they called my uncle and stated they wanted to meet with

                        me” . . .

                 c.     X USER: “Oh okayy that’s good then in a way;” “I was very worried for

                        you.”

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                 d.    MOLLOY: “I'm pretty sure I’ll be fine;” “I expect to get questioned once

                       I leave again but whatever.”

                 e.    X USER: “Ohh gosh.”

                 f.    MOLLOY: “I’ll fly from Pittsburgh to Dublin and then carry out the rest

                       of my journey from there;” “Which only includes staying within Ireland

                       of course . . .” [The “. . .” was in the text as typed by MOLLOY.]

                 g.    Later in the conversation, MOLLOY, when discussing his relationship

                       with his family, stated, “Their own son just came back from a warzone

                       after being 5 minutes from Sayed Nasrallah as he was martyred and now

                       he’s saying he’s going to pick right back up from where he left off.”

                 h.    MOLLOY also stated, “Would our martyrs want us to mourn them with

                       words or to mourn them with actions by taking the lead and pushing

                       forward?”    The X user responded, “mourn with action ofc,” and

                       MOLLOY responded, “Of course. And so we shall.”

                 i.    On or about November 23, 2024, in the same conversation thread, the X

                       user mused that MOLLOY would be able to tell a great story about his

                       travels, ultimately culminating in joining Hizballah. MOLLOY later

                       stated that, as for his current plans, “I’ll work for six weeks, I have a few

                       grand coming in from another source early Jan, and by mid Jan I’m

                       leaving for goof. Good lol.”

               76.    On or about November 13, 2024, MOLLOY visited the website titled,

“Putin doubles signing bonuses for volunteers to fight in Ukraine . . . .” As stated above,

MOLLOY informed his mother that he planned to go to Russia for one year as part of his “master

plan.”

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                77.     On or about November 4, 2024, MOLLOY conducted an internet search for

“al mustafa open university.” As stated above, MOLLOY had informed Individual 1 of his plans

to attend that institution.

                78.     On or about November 16, 2024, while in Pittsburgh, MOLLOY visited a

website detailing the possible incarceration location of Robert Bowers, the Pittsburgh Tree of Life

Synagogue shooter who murdered 11 Jewish individuals.

                79.     On or about November 20, 2024, MOLLOY visited multiple websites

regarding Al-Mustafa, including an online blog post titled “American Accepted into Al Mustafa

Open University in Iran” and the United States Department of State website titled “The United

States Sanctions IRGC Facilitators in Iran and an IRGC Official in Yemen,” which detailed the

OFAC designation of Al-Mustafa International University.

                80.     On or about November 22, 2024, MOLLOY communicated directly with

an associate on X. MOLLOY informed the associate of his intent to travel to Chicago to work at

a temporary security job that would involve patrolling private neighborhoods before he left “for

good” in January 2025. MOLLOY stated, “I’ll make sure to go up to the Jewish neighbourhood

and taunt everyone”; “Get fired the first week”; “Nah I’m joking”; “Would if I could but I need

the pay”. MOLLOY also shared an image with the associate that showed that he had enrolled at

Al-Mustafa Open University (Virtual) and stated that, “There’s an online Iranian uni that I was

given admission to recently.”

                81.     MOLLOY explained to another associate on X, on or about November 21,

2024, that, “I chose MOU [Al-Mustafa Open University] specifically because it’s sanctioned by

the US �”; “I have a massive chip on my shoulder right now”; “Apparently a few years ago US

intelligence found out MOU was recruiting for various militias”; “They took a few Afghan and

Pakistani students and introduced them to the Fatimiyoun and Zainabiyoun Brigades respectively”;
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“I accept that for what it is, I’ve denied certain stuff to them and they know I’m lying and they’ve

told me they know.”

               82.     In addition, MOLLOY continued to communicate directly via WhatsApp

with at least four WhatsApp accounts associated with Lebanese-registered telephone numbers

between on or about November 14, 2024, and on or about November 29, 2024.

       E.      MOLLOY’s Devices Contain Antisemitic And Hizballah Propaganda.

               83.     MOLLOY had the following images and videos stored on his cellular device

and/or his laptop.

               84.     The following image from MOLLOY’s cellular device depicts a cartoon

character, Pepe the Frog, shooting a Jewish man in the head. Your Affiant is aware that Pepe the

Frog is a cartoon character that first appeared in 2005 in the online cartoon, Boy’s Club. In more

recent years, Pepe the Frog has been used by the white supremacist movement to promote their

antisemitic position. In the below image, Pepe the Frog wears a shirt that bears a white swastika,

a symbol adopted by the German Nazi Party in the 1920s and later by the modern white supremacy

movement.




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               85.    The following image from MOLLOY’s cellular device depicts five

fighting-aged males in military garb with automatic rifles. One of the men carries a red flag that

bears the symbol for Hizballah in Lebanon.




               86.    The following image from MOLLOY’s cellular device depicts fighting-

aged males in Hizballah military uniforms. The men stand at attention with their right arms raised

out in front of them in a Nazi-like salute. Your Affiant is aware that the Nazi salute was used in

Nazi Germany. Above the men is a green cedar tree in a white circle on top of a red background

which is a representation of the flag of Lebanon.




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                87.     The following image, which was sent via WhatsApp on MOLLOY’s

cellular device, depicts the caricature of a Jewish man being executed. The image also contains

an inverted triangle, which Your Affiant is aware is a symbol that has been used to mark an Israeli

target about to be attacked.




                88.     The following still images were taken from a video sent from WhatsApp on

MOLLOY’s cellular device, which depict militia combatants with English subtitles exclaiming

that the resistance in Palestine is the victor and Hizballah is the victor.




                89.     The following image from MOLLOY’s laptop depicts two fighting-aged

males, one of whom is meant to represent a jihadi fighter and the other who represents a German
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Nazi soldier. The helmet worn by the man on the right displays two lightning bolts, or SS Bolts.

Your Affiant is aware that SS Bolts were the symbol of the Schutzstaffel (commonly known as the

“SS”) of Nazi Germany. Today, the symbol has been adopted by white supremacist/neo-Nazi

groups. The top of the image reads, “‫ﺻﺮاع واﺣﺪ‬/One struggle,” to draw a parallel between the

shared antisemitic platform of the jihadi fighter and the German Nazi soldier.




               90.     The following image from MOLLOY’s laptop depicts three fighting-aged

males holding the Hizballah flag. The flag depicts a stylized representation of the Arabic words

‫( ﺣﺰب ﷲ‬Ḥizballah, meaning “Party of God”) in Kufic script. Written near the first letter of the

word Allah, there is a hand that reaches up to grasp a stylized assault rifle. The flag incorporates

several other symbols, namely a globe, a book, a sword, and a seven-leafed branch. The text above

the logo reads ‫( ﻓﺈن ﺣﺰب ﷲ ھﻢ اﻟﻐﺎﻟﺒﻮن‬fa-inna ḥizba llāhi humu l-gālibūna) and means, “Then surely

the party of God are they that shall be triumphant” (Quran 5:56), which is a reference to the name

of the party. Underneath the logo are the words ‫( اﻟﻤﻘﺎوﻣﺔ اﻹﺳﻼﻣﯿﺔ ﻓﻲ ﻟﺒﻨﺎن‬al-muqāwamah al-islāmīyah

fī lubnān), meaning, “The Islamic Resistance in Lebanon.” Additionally, two of the males have

their right index fingers pointed upward. While this symbol signifies the Tawhid, a central tenant


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of Islam asserting the “oneness” of Allah, the symbol has also been featured in propaganda adopted

by several FTOs, including Hizballah.




       F.      MOLLOY’s Pittsburgh Interview

               91.    MOLLOY arrived at Washington Dulles International Airport from Doha,

Qatar, on October 20, 2024. From Washington D.C., MOLLOY then flew to Pittsburgh. When

he arrived at Pittsburgh International Airport at approximately 11:45 p.m., MOLLOY was

interviewed by FBI investigative personnel, including your Affiant.

               92.    During the interview, which lasted past midnight into October 21, 2024,

MOLLOY stated, among other things, that he is “not completely opposed to what Hizballah does.”

MOLLOY confirmed that he “emotionally supports” Hizballah.

               93.    MOLLOY explained in the interview that his rented residence was right on

the border of Dahieh, Lebanon, which was the main Shiite section in Beirut. This rented residence

was approximately a five-minute drive from Hizballah’s headquarters.



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                   94.      MOLLOY stated that he was in Forn El Chebbak, Lebanon when news

broke regarding the “pager attack.” MOLLOY observed calls on social media for able bodied

individuals to donate blood at the local hospital. MOLLOY was driven by these calls and traveled

to the hospital where he donated blood.

                   95.      MOLLOY stated that he was again in Forn El Chebbak during the air-strikes

that occurred around the time of Hizballah leader Hassan Nasrallah’s death. The air-strikes caused

MOLLOY to believe the ceiling of his dwelling would collapse.

                   96.      MOLLOY stated that he had no business in nor was he meeting anyone in

Syria.

                   97.      MOLLOY was reluctant to travel back to the U.S. and had a passion for the

Lebanon region and learning about Islam.

                   98.      MOLLOY stated that he has no current or future plans to become involved

with Hizballah.

                   99.      MOLLOY’s          Twitter        account—created   under   the   username

“KIKEKILLER313”—was deleted or suspended by Twitter because MOLLOY saying “nasty”

things to Zionists 4 online.

                   100.     MOLLOY admitted to having several photographs and videos on his

cellular phone related to soldiers standing up for the Palestinian cause and Islam.

           G.      Summary

                   101.     In sum, there is probable cause to charge MOLLOY with two counts of

violating Title 18, United States Code, Section 1001(a)(2).




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    Zionists support the existence of a Jewish state in Israel.
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               102.    In particular, on or about October 20, 2024 through October 21, 2024,

MOLLOY did willfully and knowingly make a materially false, fictitious, and fraudulent statement

and representation in a matter within the jurisdiction of the executive branch of the Government

of the United States, by telling agents from the Federal Bureau of Investigation in an interview at

the Pittsburgh International Airport, in the Western District of Pennsylvania, that (1) MOLLOY

had no current or future plans to become involved with Hizballah and (2) MOLLOY had no

business in nor was he meeting anyone in Syria.

               103.    The statements and representations were false because, as MOLLOY then

and there knew (and as explained in detail above): (1) MOLLOY had current and future plans to

become involved with Hizballah and (2) MOLLOY travelled to Syria with the business of

continuing his attempts to join Hizballah, and while in Syria, set up a meeting with at least one

individual there (“Soumar Syria”).

               104.    As explained above, this offense involved international terrorism.

IV.    REQUEST TO SUBMIT CRIMINAL COMPLAINT BY TELEPHONE OR
       OTHER RELIABLE ELECTRONIC MEANS

               105.    I respectfully request, pursuant to Rule 4.1 of the Federal Rules of Criminal

Procedure, permission to communicate information to the Court by telephone in connection with

this application for a Criminal Complaint.

V.     REQUEST FOR SEALING

               106.    It is further respectfully requested that this Court issue an Order sealing,

until further order of Court, all papers submitted in support of this application for a criminal

complaint, to include this Affidavit, the Criminal Complaint, and the Arrest Warrant issued

therefrom. Sealing is necessary to properly effect the arrests of the defendants and for the safety

of the arresting agents and officers.


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VI.    CONCLUSION

              107.    Based upon the aforementioned information, your Affiant respectfully

submits there is probable cause to believe that MOLLOY violated Title 18, United States Code,

Section 1001(a)(2).

              The above information is true and correct to the best of my knowledge, information,

and belief.

                                                          Respectfully submitted,


                                                          /s/ Gregory Battaglia
                                                          GREGORY BATTAGLIA
                                                          Special Agent
                                                          Federal Bureau of Investigation



Sworn and subscribed before me by telephone,
pursuant to Fed. R. Crim. P. 4.1,
this 6th day of December 2024.




THE HONORABLE CHRISTOPHER B. BROWN
UNITED STATES MAGISTRATE JUDGE




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